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                             IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF IDAHO


 EDV/ARD E. WILLIS, an individual,

                             Plaintiff                                Case No. 1:1.8-cv-LL2

 v
                                                                         COMPLAINT
 UNITED STATES OF AMERICA

                             Defendant.



       COMES NOW Plaintiff Edward E. 'Willis ("Plaintiff' or "Willis"), by and through his

counsel of record FIsnpn Rnnqpv HuosoN, and hereby complains and alleges as follows:

                                 PARTIES. JURISDICTION & VENUE

        1.       Edward E. Willis is currently a resident of Boise in Ada County, Idaho.

        2.        Willis is a former member of the armed services who received an honorable

discharge after service with the U.S. Navy from June 1981 to August 1988.

        3.        Defendant United States of America is named pursuant to the Federal Tort Claims

Act, 28 U.S.C. $$ 2671, et. seq.,        as the representative Defendant and real party   in interest for both

the Boise VA Medical Center and the United States Department of Veterans Affairs, as well as

those employed by these entities to provide healthcare services at its facilities.
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       4.      This action involves a claim against the United States for money            damages

attributable to the personal injury caused by the reckless, negligent, and/or wrongful acts by

employees of the government while acting within the scope of their offrce or employment.

       5.      Federal jurisdiction is proper pursuant    to 28 U.S.C. $ 1346(bxl)      because the

Defendant identified would otherwise be liable to the Plaintiff under the laws of the State of Idaho

for medical negligence.

       6.      Plaintiff timely presented this claim in writing to the United States Department of

Veterans Affairs claims office on August 29,2017.

       7.      The United States Department of Veterans Affairs failed to make a final disposition

of the claim within six months after it was presented pursuant to 28 U.S.C. $ 2675(a).

       8.      Venue in this Court is proper pursuant to 28 U.S.C. 1391 and 28 U.S.C. 1402(b)

because the location of the conduct herein alleged is the Boise   VA Medical Center in Boise, Idaho.

                                    GENERAL ALLEGATIONS

       9.      On October 2, 2016, at approximately 0l:29, the Boise VA Medical               Center

Emergency Department ("VAED") admitted Navy veteran, Edward Eugene Willis.

       10.     Medical staff at the VAED documented that upon arrival, Willis's symptoms

included weakness and loss of motor control.

       11.     A blood test showed that Willis had a dangerously elevated Potassium level.

        12.    At 01:39, medical staff at the VAED      deemed Willis a fall risk and noted in his

medical record that he should be in a bed with the side rails up with a fall risk sign posted at

bedside.

        13.    Additionally, a VAED physician charted that Willis was "unable to stand or

function without full assist," that Willis expressed concern because he was feeling very weak and
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having difficulty standing, and that "...the patient is noted to be generally weak, particularly in the

lower extremities."

        14.     A VAED physician also noted V/illis had diffrculty lifting his legs off the gumey.

        15.     Around 04:48, medical staff asked Willis to provide         a   urine sample.

        16.     Because of   Willis's weakness, and in order to provide         a   urine sample, Willis had to

be supported on both sides by medical staff persons.

        17.     After he finished providing the sample, the medical staff person who had                  been

supporting V/illis to his right let go of him to take away the urine sample, without regard for

V/illis's recorded symptoms of weakness, and risk for falling.

        18.     The medical staff person on his left side then also stepped away, without warning,

causing Willis to drop to the floor.

        19.     Willis's lower extremity made a popping         sound when he hit the floor.

        20.     After the fall, medical staff noted in Willis's chart that he had a scratch on his leg,

but did not further examine Willis regarding the fall until days later.

        21.     Three days later, on October 5,2016, medical staff at the VA ordered an x-ray                of

Willis's left ankle and foot that revealed   a fracture   in Willis's left ankle.

        22.     Medical staff at the VA determined that Willis would have to undergo surgery to

repair the fracture.

        23.     On October 17,2016, Willis underwent surgery to repair his ankle.

        24.     Over the next several months, Willis had to undergo numerous surgeries in

continuing attempts to repair his ankle. Because he was unable to live independently, during this

time he remained inpatient under the care of the Boise VA Medical Center because he was unable

to live independently.
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        25.      In May 2017, while still inpatient at the Boise VA Medical Center and after

numerous unsuccessful surgeries on his ankle, Willis had to have his left leg amputated below the

knee.

        26.      In June 2017, over eight months after first arriving at the Boise VA Medical Center,

Willis was finally discharged, and returned to his two-story home in a wheelchair.

                                          CAUSE OF ACTION
                                            Medical Negligence
                                           Idaho Code $ 6-1012

        27.      The Plaintiff hereby incorporates and re-alleges all previous paragraphs of this

Complaint as if fully set forth herein.

        28.      Despite known and documented weakness and loss of limb control, medical staff

at the Boise   VA Medical Center failed to keep Willis    safe so as to prevent him from falling.

        29.      The medical staff persons who committed these negligent and reckless acts were

employees of the Federal Government.

        30.      The medical staff person or persons who committed these negligent and reckless

acts were acting within their respective scopes of employment.

        31.      By failing to adequately monitor and support V/illis after he provided a urine

sample, medical staff at the Boise   VA Medical Center violated the applicable         standards   of care

and were thereby negligent and reckless.

        32.      VA medical staff failed to properly   care for   V/illis who was weak, and a known fall

risk, the failure of which was a breach of the applicable standards of care and were thereby

negligent and reckless.

        33.      The medically negligent and reckless misconduct on the part of the Department          of

Veterans Affairs, the Boise    VA Medical      Center, through its employees, in failing to meet the
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applicable standards of care was a direct and proximate cause of, and/or a substantial factor in

causing, the injury and damages suffered by Plaintiff.

        34.     Such injury includes,   without limitation, past, present and future physical disability,

past, present and future physical and mental pain and suffering, and past, present and future loss

of enjoyment of life.

        35.     As such, Plaintiff is entitled to a monetary award of general and special damages in

an amount to be proven at trial.

                                        DEMAND FOR        TRIAL                              \




        Pursuant to Rule 39 of the Federal Rules of Civil Procedure, Plaintiff hereby demands a

trial on all issues properly tried by a court in the above-entitled matter.

                                        PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays for judgment against the Defendant as follows:

        a.      For general damages in an amount to be proven at trial;

        b.      For special damages in an amount to be proven at trial;

        c.      That punitive damages be imposed against Defendant according to proof; and

        d.      For such other and further relief as this Court deems just and equitable.

    DATED this
                  -Jfr   day of March 2018

                                                         FrsHeR RerNev HuosoN




                                                         Angie Perkins
                                                         Attorney for Plaintiff
